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IN THE UNITED sTATES DISTRICT CoURT ' ' w
FoR THE wEsTERN DISTRICT oF TENNESSEE 95 JUH y 7 gm [U.
wESTERN DIVISION ` k ' 03
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cYNTHIA BRADDoCK, W'D‘ {"‘f "”'"f' l‘"l"?{`“'”*“*’$
Plaimiff,
v. NO. 05-2245 _ Ma/P
BABCOCK & WILcoX

CONSTRUCTION CO., INC.,

Defendant.

 

SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held on June 16, 2005. Present
Were Randall Fishman, counsel for plaintiff and Scott Frick, counsel for defendant At the

conference, the following dates were established as the final dates for:

INITIAL DISCLOSURES PURSUANT TO Fed. R. Civ. P. 26(a)(1): ................. June 30, 2005
J()INING PARTIES: ............................................................................................ August 16, 2005
AMENDING PLEADINGS: .............................................................................. August 16, 2005
INITIAL MOTIONS TOl DISMISS: .......................................................... September 16, 2005
COMPLE'I`ING ALL DISCOVERY: .............................................................. February 16, 2006

(a) DOCUMENT PRODUCTION: .................................................. Decernber 16, 2005

(b) DEPOSITIONS, INTER_ROGATORIES, AND
REQUESTS FOR ADMISSIONS: ........................................... February 16, 2006

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLAINTIFF'S
RULE 26 EXPERT INFORMATION: ....................... December 16, 2005

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(2) DISCLOSURE OF DEFENDANT'S

RULE 26 EXPERT INFORMATION: ......................... January l6, 2006.

(3) EXPERT WITNESS DEPOSITIONS: ......................... February 16, 2006

FILING DISPOSITIVE MO'I`IONS: ................................................................... March 16, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer or objection, which is the
Subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of sucyh motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived.

This case is set for jury trial. The pretrial order date, pretrial conference date, and trial
date will be set by the presiding judge. "TV\`“»Q~ 15 e'f?¢“i“i 4" W' "'\"""“(-Z)da’\p' M

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59 and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may fiie an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting

forth the reasons for which a reply is required

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The parties have not consented to trial before the magistrate judge.
This order has been entered after consultation with trial counsel pursuant to notice.

Absent good cause shown, the scheduling dates set by this order will not be modified or

 

 

 

extended.
IT IS so 0RDERED.
"'C:;S@\

Tu M. PHAM
United States Magistrate Judge
Date: joi~\ lb T, 206-

APPRo R ENTRY:

iiandall J. Fishman #7097

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Attorney r Plaintg°)_'f

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Scheduling Order Westmn Dinriet of'l.‘ermessee
Westcm Division

     

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UNIED

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-02245 was distributed by faX, mail, or direct printing on
June 17, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

